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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

PFIZER, INC                                          §
                                                     §
       Plaintiff,                                    §
v.                                                   §
                                                     §     CIVIL ACTION NO. 1:16-cv-1228
TEXAS HEALTH AND HUMAN                               §
SERVICES COMMISSION and                              §
CHARLES SMITH, Executive                             §
Commissioner, in his official capacity               §
                                                     §
                                                     §
       Defendants.                                   §
                                                     §

                       PLAINTIFF’S ORIGINAL COMPLAINT FOR
                       DECLARATORY AND INJUNCTIVE RELIEF

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff Pfizer, Inc., and files this Original Complaint for Declaratory

and Injunctive Relief, and in support thereof would show as follows:

                                          I.     Parties

        1.      Plaintiff Pfizer, Inc. is a corporation, duly formed and existing under the laws of

 Delaware, with its principal place of business in New York, New York.

        2.      Defendant Texas Health and Human Services Commission (“HHSC”) is an

 executive branch agency of the State of Texas, and has been designated by Texas as the “single

 state agency designated to administer the medical assistance program… in accordance with 42

 U.S.C. Section 1396a(a)(5).” TEX. HUMAN RES. CODE § 32.021(a). The Commission may be

 served with process through its Executive Commissioner Charles Smith at HHSC headquarters,

 4900 N. Lamar, Austin, Texas 78751.




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       3.      Defendant Charles Smith is the Executive Commissioner of the Texas Health and

Human Services Commission, and is named solely in his official capacity for purposes of

injunctive relief. Executive Commissioner Charles Smith may be served with process at HHSC

headquarters, 4900 N. Lamar, Austin, Texas 78751.

                                II.       Jurisdiction and Venue

       4.      This court has federal question jurisdiction over the subject matter of this case

pursuant to Article 3, Section 2 of the United States Constitution and 28 U.S.C. § 1331.

Plaintiff’s cause of action is based upon, and seeks judicial interpretation of, 42 U.S.C. § 1396r-

8(b)(3)(D).

       5.      This court has personal jurisdiction over the Defendants in this case because they

are an executive branch agency of the State of Texas and its Executive Commissioner, both of

which are headquartered in Austin, Travis County, Texas.

       6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims asserted herein occurred

within this District. In addition, both Defendants named herein reside in this state and within

this District. 28 U.S.C. § 1391(b)(1).

                                         III.   Background

       A.      The Law

       7.      Texas Medicaid is a federal program administered by the states. Plaintiff is

required to report highly confidential detailed pricing and rebate information for its drugs

included in the Texas Medicaid Vendor Drug Program pursuant to 42 U.S.C. § 1396r-8(b)(3).

This information is provided by Plaintiffs in reliance on the confidentiality guaranteed by 42

U.S.C. § 1396r-8(b)(3)(D) which provides as follows:



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              (D) Confidentiality of information

              Notwithstanding any other provision of law, information disclosed
              by manufacturers or wholesalers under this paragraph or under an
              agreement with the Secretary of Veterans Affairs described in subsection
              (a)(6)(A)(ii) of this section (other than the wholesale acquisition cost for
              purposes of carrying out section 1395w–3a of this title) is confidential
              and shall not be disclosed by the Secretary or the Secretary of Veterans
              Affairs or a State agency1 (or contractor therewith) in a form which
              discloses the identity of a specific manufacturer or wholesaler, prices
              charged for drugs by such manufacturer or wholesaler, except—

                           (i) as the Secretary determines to be necessary to
                           carry out this section, to carry out section 1395w–3a
                           of this title (including the determination and
                           implementation of the payment amount), or to carry
                           out section 1395w–3b of this title,

                           (ii) to permit the Comptroller General to review the
                           information provided,

                           (iii) to permit the Director of the Congressional
                           Budget Office to review the information provided,

                           (iv) to States to carry out this subchapter, and

                           (v) to the Secretary to disclose (through a website
                           accessible to the public) the weighted average of the
                           most     recently    reported    monthly average
                           manufacturer prices and the average retail survey
                           price determined for each multiple source drug in
                           accordance with subsection (f).

              The previous sentence shall also apply to information disclosed under
              section 1395w–102 (d)(2) or 1395w–104 (c)(2)(E) of this title and drug
              pricing data reported under the first sentence of section 1395w–141 (i)(1)
              of this title.


1
 42 U.S.C. § 1396r-8(k)(9) provides: “ State agency The term ‘State agency’ means the agency designated under
section 1396a (a)(5) of this title to administer or supervise the administration of the State plan for medical
assistance.”
42 U.S.C. § 1396a(a)(5) provides: “(a) Contents A State plan for medical assistance must—
(5) either provide for the establishment or designation of a single State agency to administer or to supervise the
administration of the plan…or by the agency or agencies administering the supplemental security income
program...” (emphasis added).
HHSC has been designated by Texas as the “single state agency designated to administer the medical assistance
program… in accordance with 42 U.S.C. Section 1396a(a)(5).” Tex. Human Res. Code § 32.021(a).


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           8.      HHSC receives Plaintiffs’ confidential information only because it has been

    designated as the “single state agency designated to administer the medical assistance

    program… in accordance with 42 U.S.C. Section 1396a(a)(5).” Tex. Human Res. Code §

    32.021(a).

           9.      Plaintiffs confidential information is also protected from disclosure by HHSC by

    Texas law:

                 Sec.    531.071.     CONFIDENTIALITY            OF      INFORMATION
                 REGARDING DRUG REBATES, PRICING, AND NEGOTIATIONS.
                 (a) Notwithstanding any other state law, information obtained or
                 maintained by the commission [HHSC] regarding prescription drug
                 rebate negotiations or a supplemental Medicaid or other rebate
                 agreement, including trade secrets, rebate amount, rebate percentage, and
                 manufacturer or labeler pricing, is confidential and not subject to
                 disclosure under Chapter 552.

Texas Gov’t Code §531.071(a).

           10.     Nevertheless, Plaintiff has obtained documents from HHSC that establish that the

    confidentiality guaranteed by 42 U.S.C. § 1396r-8(b)(3)(D) and by Texas Gov’t Code

    §531.071(a) has been and will continue to be violated by Defendants.2

           B.      Factual Background

           11.     HHSC has provided documentation indicating that in or about February or March

    2016 HHSC received a request from the Chair of the Texas Senate Health and Human Services

    Committee (“Requestor #1”), under the Texas Public Information Act (“TPIA”) apparently for,

    among other things, Plaintiff’s confidential pricing and rebate information.3 HHSC initially

    complied with 42 U.S.C. § 1396r-8(b)(3)(D) and did not release the confidential information.

    However, contrary to the mandatory provisions of Tex. Gov’t Code § 552.305(d), Defendant
2
  The documents and other information have been released by HHSC in response to Plaintiff Pfizer’s counsel’s
Public Information Act requests and subsequent communications.
3
  Despite repeated request for a copy of Sen. Schwertner’s February or March 2016 request, HHSC has yet to
provide same. Exhibit “B” August 17, 2016 –October 14, 2016 emails with HHSC.


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HHSC did not notify Plaintiff of the TPIA request for its highly confidential rebate and pricing

information. As set forth below, HHSC has recently provided documents which reflect that

HHSC initially responded with de-identified examples because identified pricing and rebate

information is confidential under 42 U.S.C. § 1396r-8(b)(3)(D). Importantly, in the documents

HHSC expressly recognized the application of 42 U.S.C. 1396-r8 (b)(3)(D) and Texas

Government Code §531.071 to the information it was providing to Requestor #1. Specifically,

HHSC inserted the following warning in the footer of the document:

             Confidential and Proprietary; unauthorized disclosure prohibited by
             federal law at 42 U.S.C. 1396-r8(b)(3)(D) and Texas Government Code
             §531.071.

       12.      However, the documents reflect that Requestor #1 disagreed with HHSC and by

April 26, 2016 letter Requestor #1 maintained that:

             In conversations with you and your staff, I had previously requested
             information pertaining to rebates received by the state on medications
             included on the state’s Medicaid Preferred Drug List (PDL). The
             response received from your agency on March 10 provided several de-
             identified examples stating that the Texas Health and Human Services
             Commission (HHSC) would be unable to share exact rebate amounts
             based an interpretation of state law that would classify such information
             as confidential.

             However, the Texas Government Code provides legislators with the clear
             statutory authority to access any records, documents, and/or files of each
             state agency, department, or office as necessary to perform their official
             duties.

             Therefore, under the Texas Public Information Act (see Texas
             Government Code, Sec. 552.008), I am formally requesting the
             following information to use for legislative purposes:

                     •   The federal and state rebate amounts for all drugs
                         listed on the Texas Medicaid Preferred Drug List.




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             13.     HHSC has provided documentation indicating that, contrary to 42 U.S.C. § 1396r-

    8(b)(3)(D), on May 6, 2016 HHSC requested a letter ruling from the Texas Attorney General’s

    Open Records Division (“ORD”) as to whether the requested confidential information was

    exempt from disclosure under the TPIA. Further, contrary to the mandatory provisions of Tex.

    Gov’t Code § 552.305(d), Defendant HHSC did not notify Plaintiff that its highly confidential

    rebate and pricing information had been requested, or that HHSC had requested an ORD letter

    ruling. As a result, Plaintiff was deprived of its right to submit briefing to ORD to protect its

    confidential pricing and rebate information from disclosure by HHSC.

             14.     HHSC has provided documentation indicating that on June 3, 2016 Requestor #1

    provided legal briefing to ORD regarding the TPIA request.                         However, contrary to the

    mandatory provisions of Tex. Gov’t Code § 552.305(d), no one provided Plaintiff with notice of

    Requestor #1’s briefing. As a result, Plaintiff was deprived of its right to submit briefing to

    ORD to protect their confidential pricing and rebate information from disclosure by HHSC.

             15.     HHSC has provided documentation indicating that on July 27, 2016 ORD issued a

    non-precedential letter ruling4, OR2016-16919, which opines that Plaintiff’s confidential


4
    The Texas Attorney General’s office makes this lack of precedential effect quite clear:

                     Unlike Open Records Decisions, these informal letter rulings are applicable only
                     to the specific documents and circumstances surrounding them; therefore, Open
                     Records Letter Rulings should not be cited as precedent when briefing to the
                     Office of the Attorney General.

Texas Attorney General’s web site at: https://texasattorneygeneral.gov/open/index_orl.php (last viewed October 20,
2016); Also, as explained by the Texas Attorney General:
                   “Open Records Decisions are formal opinions relating to the Public Information
                   Act (formerly the Open Records Act). These decisions usually address novel or
                   problematic legal questions and are signed by the Attorney General. Open
                   Records Decisions may be cited as precedent in briefing to the Open Records
                   Division.”
https://texasattorneygeneral.gov/og/open-records-decisions-ords (last viewed October 20, 2016).




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    pricing and rebate information should be released to Requestor #1. However, ORD did not send

    a copy of its letter ruling to Plaintiff. Further, the ORD letter ruling erroneously did not

    consider the federal confidentiality provisions in 42 U.S.C. § 1396r-8(b)(3)(D). The letter

    ruling also erroneously determined, in violation of Texas Government Code §531.071, that the

    Texas Public Information Act (“TPIA”) provides state legislators with special rights of access

    that are not subject to the confidentiality provision in the Texas Government Code related to

    Medicaid pricing and rebate information.

           16.    HHSC has provided documentation indicating that on July 28, 2016 it provided

    Requestor #1 with Plaintiff’s identified confidential pricing and rebate information. This was

    in violation of 42 U.S.C. § 1396r-8(b)(3)(D).                Further, no one advised Plaintiff that its

    confidential pricing and rebate information was provided to Requestor #1.                           In addition,

    documents provided by HHSC reflect that Requestor #1 was not required to sign a non-

    disclosure agreement. Instead, HHSC sent a cover letter referencing Texas Government Code

    §552.008 with the confidential information to Requestor #1.

           17.    When Plaintiff learned of the non-precedential ORD letter ruling and release of

    information to Requestor #1, it filed suit in Texas State District Court on August 19, 2016,

    pursuant to the TPIA to appeal the letter ruling and HHSC’s failure to provide any notice or

    opportunity to submit briefing to ORD on Requestor #1’s request. By August 19, 2016 email to

    HHSC’s Chief Legal Counsel, Defendant HHSC was notified of the suit and was provided a

    courtesy copy of the Petition. Plaintiff Pfizer’s counsel’s August 19, 2016 email also requested

    certain related documents and information. HHSC treated the request as a TPIA request and

    subsequently produced the documents referenced herein.5


5
  As of the date of the filing of this Complaint, HHSC has yet to provide all of the information that has been
requested.

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       18.     HHSC has provided documentation reflecting that it received a similar Texas

Public Information Act request dated August 25, 2016 from the Chair of the Texas Senate

Finance Committee (“Requestor #2”), for, among other things, Plaintiff’s identified

confidential pricing and rebate information. The request reads as follows:

             I am writing to request information received by your agency regarding
             rebates for drugs included on the Medicaid Preferred Drug List (PDL)
             under the Texas Public Information Act (Texas Government Code, Sec.
             552.008) to be used for legislative purposes.

             Specifically, I request all state and federal rebate amounts for drugs
             listed on the Texas Medicaid Preferred Drug List. Additionally, I request
             the information be organized to include the following: data from the last
             four quarters, grouped by PDL class, which rebates are state or federal,
             any federal rebate offsets, label name, general name, whether the drug is
             brand name or generic, and the net cost the state pays after rebates are
             applied.

             As Chair of the Senate Finance Committee, I seek this information to
             assist in making critical budget decisions for the state and request your
             prompt attention to this matter.

       19.     Despite Plaintiff’s filing of suit regarding Requestor #1’s TPIA request, once

again HHSC did not provide Plaintiff with notice of its receipt of Requestor #2 TPIA request

prior to making its response to the request. Also, HHSC did not seek an open records letter

ruling. As a result, Plaintiff once again was deprived of its right to submit briefing to ORD to

protect its confidential pricing and rebate information from disclosure by HHSC.

       20.     HHSC has provided documentation reflecting that it actually released Plaintiff’s

identified confidential pricing and rebate information to Requestor #2. This release was in

violation of 42 U.S.C. § 1396r-8(b)(3)(D).      Further, contrary to the mandatory provisions of

Tex. Gov’t Code § 552.305(d), prior to the release Defendant HHSC did not notify Plaintiff that

its highly confidential rebate and pricing information had been requested. As a result, Plaintiff




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was once again deprived of its right to submit briefing to ORD to protect their confidential

pricing and rebate information from disclosure by HHSC.

         21.   Further, HHSC has provided documentation reflecting that it had Requestor #2

and three other individuals sign “Legislative Nondisclosure Agreements” (“LNDA”) which cite

to Texas Government Code §552.008. Even with the LNDAs, the release was in violation of 42

U.S.C. § 1396r-8(b)(3)(D). Further, the LNDAs may be problematic in that they provide,

among other things, that the signatory can release confidential information merely if they are

“advised by legal counsel that disclosure is required by law or legal process”. As a result, the

LNDAs may provide only limited protection against further improper release of Plaintiffs’

confidential information.

         22.   Ironically, HHSC is invoking Texas Government Code §552.101 to prevent

Plaintiff from seeing, among other things, its own confidential information which HHSC

provided to Requestor #1. Specifically, HHSC has provided a copy of its September 2, 2016

letter to the Texas Attorney General’s Open Records Division in response to Plaintiff counsel’s

August 19, 2016 TPIA request.        HHSC’s letter asserts that “a portion of the requested

information is excepted from public disclosure pursuant to section 552.101 of the Government

Code.”

         23.   By November 9, 2016 letter ruling, OR2016-25018, ORD responded to HHSC’s

September 2, 2016 letter and opined that Pfizer’s confidential pricing and rebate information “is

confidential pursuant to section 531.071(a) of the Government Code, and the commission must

withhold it under section 552.101 of the Government Code.” Therefore, although it is ironic

that Plaintiff itself is being prevented from seeing, among other things, its own confidential

information which HHSC provided to Requestor #1, there certainly is no dispute that section



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    531.071 applies to Pfizer’s information that HHSC provided to Requestor #1. As set forth

    thoroughly below, disclosure of Plaintiff’s confidential pricing and rebate information sought by

    the TPIA requests of Request #1, Requestor #2, and Plaintiff6 is expressly prohibited by 42

    U.S.C. § 1396r-8(b)(3)(D) and by Texas Government Code §531.071. The application of the

    statutes and the facts establish that the TPIA requests seek the release of valuable and

    commercially-sensitive trade secrets that, if disclosed, would substantially harm Plaintiffs’

    ability to compete in the marketplace, including within the Texas Medicaid Preferred Drug List.

           24.    On August 31, 2016, HHSC’s Chief Counsel advised Plaintiff through its counsel

    of the existence of Requestor #2’s TPIA request, but also advised that the information had

    already been released pursuant to the TPIA.

           25.    By September 1, 2016 email to HHSC’s Chief Counsel, Plaintiff’s counsel raised

    the impropriety of the release to Requestor #2 without prior notice and opportunity to brief the

    issues to the Open Records Division.             Plaintiff’s counsel also requested the status of the

    documents that he had requested on August 19. In response, HHSC’s Chief Counsel advised

    that HHSC was “gathering information in response to your request”.

           26.    By Friday, September 2, 2016 email Plaintiff’s counsel followed up on his

    September 1, 2016 email, again requesting the status of the documents that had been requested

    on August 19, and further requested:

                  Please also confirm as soon as possible whether or not HHSC:

                  1)     will notify us if and when it receives further PIA requests from
                  members of the legislature (or others) for our client’s confidential
                  information; and




6
 For Plaintiff’s TPIA request, only to the extent it seeks confidential pricing and rebate information for products
other than Plaintiff’s.

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               2)     will refrain from providing the requestor with responsive
               information until we have an opportunity to brief the issues to the
               Texas Attorney General’s Open Records Division.

               Our client obviously wants to avoid a repeat of the current
               situation.

       27.     By September 2, 2016 email, HHSC’s Chief Counsel confirmed that although

HHSC would notify Plaintiff’s counsel when it received further TPIA requests for its rebate

information, HHSC would not refrain from providing the requestor with responsive information

before Plaintiff would have an opportunity to brief the issues to the Open Records Division:

             Good afternoon, Ed. I'm glad we were able to talk earlier today. HHSC
             is gathering information in response to your questions concerning
             requests made by [Requestor #1], chair of the Senate Health and Human
             Services Committee, and [Requestor #2], chair of the Senate Finance
             Committee, for rebate information relating to drugs on Texas Medicaid's
             preferred drug list. As we discussed, however, the sample of rebate
             information provided to the Office of the Attorney General (OAG) with
             the briefing on [Requestor #1’s] request includes confidential
             information. HHSC is seeking a ruling from OAG on that portion of
             your request, which seeks a public disclosure of confidential
             information.

             I'll continue to notify you of Public Information Act requests for your
             client's rebate information, but I can't agree to withhold information
             from a legislative requestor who, under section 552.008 of the Public
             Information Act, is requesting the information for a legislative
             purpose.

             Thanks for your time today. I hope you enjoy the long weekend.

       C.      HHSC’s Production of Documents

       28.     By Friday, September 9, 2016 emails HHSC made its first production of the

documents requested by Plaintiff’s counsel. The information provided by HHSC reflected that

Requestor #1 had apparently originally requested Plaintiff’s confidential information in or about

February or March 2016. However, HHSC failed to produce Requestor #1’s original TPIA

request for Plaintiff’s confidential information. Further, the information provided by HHSC


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reflected that despite representations to the contrary, it did not have Requestor #1 sign a non-

disclosure agreement. Ironically, HHSC refused to produce to Plaintiff its own information

which HHSC provided to Requestor #1 citing “confidentiality”.            Therefore, by Monday,

September 12 email Plaintiff’s counsel requested clarification from HHSC. By September 13,

2016 email, HHSC provided Plaintiff with a copy of HHSC’s September 12, 2016 “Request for

open records decision” regarding the August 19, 2016 request.

       29.     By September 14, 2016 email HHSC provided a clarification of the information

provided to Plaintiff.    HHSC explained that its position that it was not required to have

Requestor #1 execute a non-disclosure agreement. HHSC further explained why it was refusing

to provide Plaintiff with its own confidential information which HHSC had released to

Requestor #1. In short, HHSC ironically took the position that Plaintiff was not entitled to see

its own confidential information (as well as other company’s confidential information) which

HHSC had released to Requestor #1 because it is “made confidential under section 531.071 of

the Texas Government Code”:

             You also asked why HHSC did not release Pfizer's confidential
             information to you. The information we provided to the Attorney
             General consisted of drug rebate information made confidential under
             section 531.071 of the Texas Government Code. While some of the
             information at issue is initially from Pfizer, that section of the
             Government Code makes all information obtained or maintained by
             the Commission regarding prescription drug rebate negotiations or a
             supplemental Medicaid or other rebate agreement, including trade
             secrets, rebate amounts, rebate percentage, and manufacturer or
             labeler pricing, confidential and not subject to disclosure under the
             Public Information Act. There does not appear to be a right of access
             granted to drug manufacturers. Accordingly, we have sent the
             information at issue to the Attorney General so we can obtain a ruling on
             the confidentiality of the information.




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        30.     By September 14, 2016 return email Plaintiff’s counsel requested that HHSC

reconsider its position regarding Plaintiff’s own information which HHSC had released to

Requestor #1:

              With regard to the information provided by Pfizer, we request that
              HHSC reconsider its position and produce same to us as counsel for
              Pfizer. If PIA Section 552.008 required the release of the information
              (with which we disagree), then we do not understand why Section
              552.023 (copied below for your convenience) would not require release
              of Pfizer’s information.

       31.      In a September 14, 2016 email Plaintiff further reiterated its request for Requestor

#1’s original TPIA request for Plaintiffs’ confidential information.

        32.     By September 29, 2016 email HHSC provided Plaintiff with the document it sent

to Requestor #1 on March 10, 2016 in response to Requestor #1’s original February or March

2016 TPIA request. Interestingly, the document establishes that HHSC initially responded to

Requestor #1’s original TPIA request with largely de-identified pricing and rebate information.

Importantly, HHSC expressly recognized the application of 42 U.S.C. 1396-r8 (b)(3)(D) and

Texas Government Code §531.071 to the information it was providing to Requestor #1.

Specifically, HHSC inserted the following warning in the footer of the document:

              Confidential and Proprietary; unauthorized disclosure prohibited by
              federal law at 42 U.S.C. 1396-r8(b)(3)(D) and Texas Government Code
              §531.071.

        33.     However, HHSC’s September 29, 2016 email still failed to provide Plaintiff with

a copy of Requestor #1’s original TPIA request which resulted in HHSC’s March 10, 2016

response to Requestor #1. Therefore, by September 29, 2016 return email Plaintiff again

requested that it be provided with same.

        34.     As of the date of the filing of this Complaint, HHSC has yet to produce Requestor

#1’s original TPIA request for Plaintiff’s confidential information. HHSC has further refused to


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produce to Plaintiff’s counsel Plaintiff’s own confidential information it actually released in

response to Requestor #1’s and Requestor #2’s TPIA requests.

       D.     Harm to Plainitiff: Capable of Repetition But Evading Review

       35.    Due to Defendant HHSC’s failure to provide any notice prior to releasing the

confidential information and its stated intention to continue to release Plaintiff’s confidential

information without prior notice to Plaintiff, Plaintiff has a reasonable expectation that the

situation will reoccur. In addition, Plaintiff has not and will not ever have an opportunity to

assert the confidentiality provisions of 42 U.S.C. § 1396r-8(b)(3)(D) for consideration by the

Open Records Division of the Texas Attorney General’s Office before its confidential

information is released by HHSC. Therefore, this is a situation that is capable of repetition, but

evading review. Murphy v. Hunt, 455 U.S. 478, 482 (1982); Honig v. Doe, 484 U.S. 305

(1988). Injunctive relief is thus appropriate herein.

       36.    42 U.S.C. § 1396r-8(b)(3)(D) provides five specific exceptions that would permit

limited release of confidential Medicaid drug pricing and rebate information. None of the five

exceptions would permit release of the information to individual state legislators, or release

pursuant to any state’s open records statute.

       37.    Plaintiff thus reasonably understands that when it submits the confidential pricing

and rebate information it will be disclosed only to those within HHSC to carry out the Texas

Medicaid program and not to members of the state legislature.

       38.    Plaintiff is a leading provider of pharmaceuticals in the United States. Plaintiff’s

products are on the Texas Medicaid Preferred Drug list. The pharmaceutical industry is fiercely

competitive requiring significant investments in research, development, time and resources. In

order to be successful a pharmaceutical company must be innovative in finding efficiencies and



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cost savings. Small differences in pricing and rebates can make the difference between success

and failure. Plaintiff’s pricing and rebate information is therefore kept highly confidential.

       39.    Plaintiff takes careful measures to protect the confidentiality of its pricing and

rebate information. Not only is the information kept confidential with respect to the public at

large, but it is not even openly disseminated within Plaintiff’s own company. Access to the

relevant documents is provided to a limited number of employees only on a “need to know

basis.” In total, all the employees who have access to the pricing and rebate information make

up a very tiny percentage of Plaintiff’s workforce. Plaintiff maintains its own secure networks.

All computers, PCs and laptops, are password protected and accessible only by the authorized

employee or necessary supervisor. Access to pricing and rebate information is limited to the

“need to know” employees described above.            Any hard copies of the pricing and rebate

information are appropriately protected against disclosure.

       40.    Plaintiff’s employees with access to the confidential pricing and rebate

information are required to sign confidentiality and non-disclosure agreements that expressly

protect trade secrets like the confidential pricing and rebate information. Plaintiff vigorously

enforces such confidentiality and non-disclosure agreements by all legal means at its disposal.

       41.    Plaintiff is vigilant in protecting its confidential pricing and rebate information

from public disclosure.     Plaintiff does not publish their confidential pricing and rebate

information in any publically-accessible form, and will not provide it to any person or entity

that requests. Indeed, when Plaintiff receives notice that its confidential pricing and rebate

information is the subject of a records request, it diligently seeks to enforce its legal rights to

protect such information. These efforts would include, if necessary, filing lawsuits to protect

trade secrets exempt from disclosure under public records laws.



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       42.    Absent improper disclosure, Plaintiff’s confidential pricing and rebate

information could not be ascertained or duplicated, and could not be properly acquired by

competitors or others who could obtain economic value from its use or disclosure. Although

Plaintiff is a publicly-traded company, the confidential pricing and rebate information is not

available from any public filings or disclosures.

       43.    Plaintiff’s confidential pricing and rebate information is not known or used by its

competitors, nor do its competitors share such information with each other. Given the highly

competitive nature of the pharmaceutical industry, disclosure of the confidential pricing and

rebate information would destroy the value of this confidential trade secret information. If

competitors learned Plaintiff’s respective pricing detail, those competitors would have an unfair

advantage in a highly competitive marketplace and in competitive bidding situations.

       44.    Additionally, if Plaintiff’s valuable trade secret pricing and rebate information

were subject to disclosure by public records requests such as the requests at issue here, Texas

Medicaid and other large purchasers of pharmaceuticals would also be ultimately harmed

because Plaintiff, and others like Plaintiff, would have difficulty providing competitive rates to

large purchasers. If every contracting entity were aware of such pricing detail and demanded

the same pricing and rebate information, companies like Plaintiff would not be able to provide

such pricing and rebates to every entity due to their unique differences in size, market and

particular needs. If public disclosure were to lead to uniform pricing, the low rates that Texas

Medicaid enjoys would disappear. Similarly, the purpose of competitive bidding would be

defeated. The custom in the pharmaceutical industry is that large customers typically do not

share pricing detail information with each other for this very reason.




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                     IV.      Application of 42 U.S.C. § 1396r-8(b)(3)(D)

       45.    42 U.S.C. § 1396r-8(b)(3)(D) by its terms binds Defendant HHSC as the “State

agency” designated by Texas to administer the Texas Medicaid program. As such, Defendant

HHSC was provided Plaintiff’s confidential drug pricing and rebate information solely to

administer the Texas Medicaid Program. At all times the information remained subject to 42

U.S.C. § 1396r-8(b)(3)(D), and could only be released in the five specific circumstances

enumerated in the statute. Those exceptions permit release of the information (i) “as the

Secretary determines…”, (ii) “to… the Comptroller General”, (iii) “to… the Director of the

Congressional Budget Office…”, (iv) “to States to carry out this subchapter, and” (v) “to the

Secretary….”.

       46.    Defendant HHSC was provided with Plaintiff’s confidential information solely in

its role as the administrator of the Texas Medicaid program. As such, it was able to receive the

data pursuant to exception 42 U.S.C. § 1396r-8(b)(3)(D)(iv), which allows access “to States to

carry out this subchapter.”

       47.    42 U.S.C. § 1396r-8(b)(3)(D) begins with the phrase “Notwithstanding any other

provision of law”; thus communicating          the intent of the Congress to maintain the

confidentiality of the Medicaid “best price” rebate and discount data despite any other state or

federal law to the contrary. Medicaid regulations originally adopted in the 1990 Omnibus

Reconciliation Act (“OBRA”) require that pharmaceutical companies such as Plaintiff charge

Medicaid their lowest or “best price” for their drugs. See 42 CFR §447.505. Such requirement

was put in place to minimize prices paid by the program. It is thus vital to the continuation of

the Medicaid program to obtain a truly “best price” for all drugs covered by the program.

Congress requires the manufacturers to report such data, and in exchange for receiving the “best

price”, enacted 42 U.S.C. § 1396r-8(b)(3)(D), to provide strict confidentiality. The reason for
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this is simple.    Should the confidential pricing and rebate information be released, other

purchasers of drugs will request rebates and discounts to match or approach the Medicaid “best

price.” If pharmaceutical manufacturers, including Plaintiff, are also required to give deeper

discounts and rebates and thus the “best price” to other drug purchasers, they will not be able to

offer the same type of deep preferential rebates and discounts to Medicaid programs and

“covered entities” that provide health care services to indigent populations. Without such deep

preferential discounts and rebates for Medicaid and covered entities alone, what once was the

“best price” available only to Medicaid and “covered entities” will be driven up. Although

Medicaid programs will still receive the then “best price”, the “best price” will actually be

higher than before. As a result, the costs of the Medicaid program and for indigent care will

increase at both the federal and state level.

       48.     Defendant HHSC has made clear that it will continue to release the highly

confidential information protected by 42 U.S.C. § 1396r-8(b)(3)(D) to individual state

legislators absent judicial intervention. The pending TPIA lawsuit in state court did not prevent

the release of the same confidential information to a second requestor, without any notice to

Plaintiff. This conduct prevents Plaintiff from obtaining any judicial review prior to release of

the information. In short, HHSC has created a situation that is capable of repetition, but

evading review.

                      V.      Application of Texas Gov’t Code §531.071

       49.     Similarly, HHSC’s release of the pricing and rebate information violated Texas

law which provides as follows:

             Sec.     531.071.   CONFIDENTIALITY        OF     INFORMATION
             REGARDING DRUG REBATES, PRICING, AND NEGOTIATIONS.
             (a) Notwithstanding any other state law, information obtained or
             maintained by the commission regarding prescription drug rebate
             negotiations or a supplemental Medicaid or other rebate agreement,
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              including trade secrets, rebate amount, rebate percentage, and
              manufacturer or labeler pricing, is confidential and not subject to
              disclosure under Chapter 552.

              (b) Information that is confidential under Subsection (a) includes
              information described by Subsection (a) that is obtained or maintained
              by the commission in connection with the Medicaid vendor drug
              program, the child health plan program, the kidney health care program,
              the children with special health care needs program, or another state
              program administered by the commission or a health and human services
              agency.

              (c) General information about the aggregate costs of different classes of
              drugs is not confidential under Subsection (a), except that a drug name or
              information that could reveal a drug name is confidential.

              (d) Information about whether the commission and a manufacturer or
              labeler reached or did not reach a supplemental rebate agreement under
              Section 531.070 for a particular drug is not confidential under
              Subsection (a).

Texas Gov’t Code §531.071 (emphasis added). Texas Gov’t Code Chapter 552 is the TPIA.

Because Chapter 552 (the TPIA) is not applicable to Plaintiff’s pricing and rebate information,

the portion of the TPIA relied upon by HHSC in making the releases, Texas Gov’t Code

§552.008, is also simply not applicable.

                                      VI.     Causes of Action

        A.       Count One: Declaratory Judgment

        50.      Plaintiff hereby incorporates the allegations set forth above, all of which are fully

re-alleged here.

        51.      Pursuant to the Declaratory Judgments Act, 28 U.S.C. §§ 2201(a) and 2202,

Plaintiff requests that the Court enter a judgment construing the confidentiality provisions of 42

U.S.C. § 1396r-8(b)(3)(D) and Texas Gov’t Code §531.071, and declaring and clarifying the

rights and obligations of the parties under those statutes.




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       52.    There is a live case or controversy between the parties. Defendant HHSC has on

at least two occasions released Plaintiff’s confidential information in violation of 42 U.S.C. §

1396r-8(b)(3)(D) and Texas Gov’t Code §531.071 without providing any prior notice to

Plaintiff, and thus preventing Plaintiff from seeking any judicial review prior to release. This is

a situation that is capable of repetition, but evading review.

       53.    Plaintiff and Defendants have fundamental disagreements regarding the

interpretation and application of 42 U.S.C. § 1396r-8(b)(3)(D) and Texas Gov’t Code §531.071.

A declaration from this court would resolve this controversy and provide the parties with

certainty regarding their legal rights and obligations related to the confidential Medicaid pricing

and rebate information.

       54.    Plaintiff thus asks that the Court declare the following:

      a.      That the Medicaid pricing and rebate information released by Defendant HHSC is

              subject to 42 U.S.C. § 1396r-8(b)(3)(D),

      b.      That Defendants may only release Medicaid pricing and rebate information,

              including, but not limited to, the “best price” discount and rebate information, if

              the release is of unidentified information and/or meets one of the five specific

              exceptions listed in 42 U.S.C. § 1396r-8(b)(3)(D),

      c.      That requests pursuant to the Texas Public Information Act do not constitute a

              listed exception under 42 U.S.C. § 1396r-8(b)(3)(D), and thus cannot authorize a

              release of confidential Medicaid pricing information,

      d.      That requests by individual state legislators for general legislative or budgeting

              purposes do not qualify as a provision of the information “to States to carry out




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                 this subchapter” under 42 U.S.C. § 1396r-8(b)(3)(D)(iv), and thus cannot

                 authorize a release of confidential Medicaid pricing information,

       e.        That Texas Gov’t Code §531.071 provides that Texas Gov’t Code §552.008 is not

                 applicable to Medicaid pricing and rebate information, and

       f.        If Defendant HHSC receives a request to release confidential Medicaid pricing

                 information covered by 42 U.S.C. § 1396r-8(b)(3)(D) and/or Texas Gov’t Code

                 §531.071, Defendants must not release same and, instead, must timely notify the

                 Centers for Medicare and Medicaid Services and any person or entity who

                 provided the requested information, so that those parties may seek judicial review

                 and relief prior to any release.

        B.       Count Two: Injunctive Relief

        55.      Plaintiff hereby incorporates the allegations set forth above, all of which are fully

re-alleged here.

        56.      Injunctive relief is appropriate if Plaintiff shows:

              (1) a substantial likelihood of success on the merits;

              (2) a substantial threat of irreparable injury;

              (3) outweighing any damage caused to the defendant; and

              (4) no harm to the public interest.

Janvey v. Aguirre, 647 F.3d 585, 595 (5th Cir. 2011). The same four elements must be shown

before a temporary restraining order can be granted. See Clark v. Prichard, 812 F.2d 991, 993

(5th Cir. 1987). However, if such an order is issued without notice to the adverse party or its

attorney, the applicant must also “clearly show that immediate and irreparable injury, loss, or

damage will result to the movant before the adverse party can be heard in opposition.” FED. R.

CIV. P. 65(b)(1). The analysis involves a “sliding scale …which takes into account the intensity

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of each [factor] in a given calculus.” Texas v. Seatrain Int'l. S.A., 518 F.2d 175, 180 (5th Cir.

1975). “[T]he purpose of a preliminary injunction is always to prevent irreparable injury so as to

preserve the court's ability to render a meaningful decision on the merits.” Meis v. Sanitas Serv.

Corp., 511 F.2d 655, 656 (5th Cir. 1975).

                1.      Plaintiff Is Likely To Succeed On The Merits

        57.     As set forth above, Plaintiff is likely to succeed on the merits, because the plain

text of 42 U.S.C. § 1396r-8(b)(3)(D) reflects Congress’ intent that Medicaid pricing information

remain confidential regardless of any other provision of federal or state law, and that Defendant

HHSC’s release of such confidential information pursuant to the TPIA was not one of the five

specific exceptions authorizing limited release.

        58.     Plaintiff is also likely to succeed on the merits, because the plain text of Texas

Gov’t Code §531.071 provides that Medicaid pricing and rebate information remain

confidential regardless of any other provision of law, and that Defendant HHSC’s release of

such confidential information pursuant to the TPIA was not proper.

        59.     Although HHSC obtained a non-precedential informal letter ruling (“ORLR”)

from a staff member of the Texas Attorney General’s Open Records Division that disclosure of

Plaintiffs’ Medicaid rebate data in response to Requestor #1’s one specific Public Information

Act request is required under the Texas Public Information Act, that one letter ruling has

absolutely no precedential value. The Texas Attorney General’s office makes this lack of

precedential effect quite clear:

              Unlike Open Records Decisions, these informal letter rulings are
              applicable only to the specific documents and circumstances surrounding




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                 them; therefore, Open Records Letter Rulings should not be cited as
                 precedent when briefing to the Office of the Attorney General.7

           60.     Also, the ORLR was erroneously obtained without Plaintiff having an opportunity

    to brief the issues before the letter ruling as issued. Further, HHSC failed to apprise the Texas

    Attorney General’s Open Records Division, and therefore that office did not consider, the

    confidentiality restrictions contained in 42 U.S.C. § 1396r-8(b)(3)(D) that expressly prohibit

    HHSC from disclosing this information. Similarly, the ORLR did not properly consider Texas

    Gov’t Code §531.071.

           61.      Even if the TPIA would apply, which is denied, because 42 U.S.C. § 1396r-

    8(b)(3)(D) prohibits the disclosure of the Medicaid rebate data at issue to members of the State

    legislature, any provision of the TPIA that would allow such disclosure is preempted under the

    Supremacy Clause of the United States Constitution. See Gibbons v. Ogden, 22 U.S. 1 (1824)

    (holding that state laws in conflict with federal laws are preempted pursuant to the Supremacy

    Clause). Specifically, absent express preemption language in a statute, the Supreme Court has

    recognized implied conflict pre-emption “where ‘compliance with both federal and state

    regulations is a physical impossibility,’ . . . or where state law ‘stands as an obstacle to the

    accomplishment and execution of the full purposes and objectives of Congress.’” Gade v. Nat’l

    Solid Wastes Management Assn., 505 U.S. 88, 98 (citing Florida Lime & Avocado Growers,

    Inc. v. Paul, 373 U. S. 132, 142-143 (1963); Hines v. Davidowitz, 312 U. S. 52, 67 (1941);

    Felder v. Casey, 487 U. S. 131, 138 (1988); Perez v. Campbell, 402 U. S. 637, 649 (1971)).




7
 See the Texas Attorney General’s web site at: https://texasattorneygeneral.gov/open/index_orl.php (last viewed
October 20, 2016); Also, as explained by the Texas Attorney General:
“Open Records Decisions are formal opinions relating to the Public Information Act (formerly the Open Records
Act). These decisions usually address novel or problematic legal questions and are signed by the Attorney General.
Open Records Decisions may be cited as precedent in briefing to the Open Records Division.”
https://texasattorneygeneral.gov/og/open-records-decisions-ords (last viewed October 20, 2016).

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       62.   Here, preemption of conflicting state law is clear. 42 U.S.C. § 1396r-8(b)(3)(D)

forbids a State agency (here HHSC) releasing Medicaid rebate data except in five limited

exceptions, none of which allow for disclosure to an individual state legislator for the purpose

of fulfilling his or her legislative duties. 42 U.S.C. §1396r-8(b)(3)(D). Accordingly, any

provision of the TPIA which would require the production of confidential Medicaid pricing and

rebate data by a State agency to members of the legislature is preempted. As such, federal law

prohibits HHSC from releasing Plaintiff’s confidential Medicaid pricing and rebate data to

members of the Texas Legislature, even in response to a request under the TPIA.

             2.      Plaintiff Will Suffer Irreparable Harm That Is Imminent

       63.   In general, a harm is irreparable where there is no adequate remedy at law, such

as monetary damages.” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011). However, the

availability of some economic damages does not always mean that a remedy at law is adequate.

For example, courts have found irreparable harm when redress may be obtained only by

pursuing multiple actions, or when a meaningful decision on the merits would be impossible

without an injunction. Id. “The absence of an available remedy by which the movant can later

recover monetary damages . . . may also be sufficient to show irreparable injury.” Enterprise

Intern. Inc. v. Corporation Estatal Petrolera Ecuatoriana, 762 F. 2d 464, 473 (5th Cir. 1985);

see also California Pharmacists Ass’n v. Maxwell-Jolly, 563 F.3d 847 (9th Cir. 2009) (holding

that plaintiffs established irreparable harm because they could obtain no remedy against the

state because of sovereign immunity). Additionally, “although monetary damages normally are

insufficient to establish irreparable injury, they may be sufficient [to establish irreparable

injury] if the economic damages are especially difficult to ascertain.” AT&T Communications

of the Southwest, Inc. v. City of Austin, 975 F. Supp. 928, 942 (W.D. Tex. 1997) (Sparks, J.)



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vacated as moot 235 F.3d 241 (5th Cir. 2000); see also Heil Trailer Int'l Co. v. Kula, 542 F.

App'x 329, 335 (5th Cir. 2103) (unpub.) (“An irreparable injury is one that cannot be undone by

monetary damages or one for which monetary damages would be ‘especially difficult to

calculate.’”).

        64.      There is a substantial likelihood of irreparable harm to Plaintiff because

Defendant HHSC has already released confidential information on two separate occasions

without providing any notice or opportunity to seek judicial or other review. The pending TPIA

lawsuit in state court did not prevent the release of the same confidential information to a

second requestor, without any notice to Plaintiff. HHSC has made clear that it will continue

to release Plaintiff’s highly confidential information to individual state legislators absent

judicial intervention. This conduct prevents Plaintiff from obtaining any judicial review prior

to release of the information. The TPIA process is effectively rendered a nullity. In short,

HHSC has created a situation that is capable of repetition, but evading review. Murphy v. Hunt,

455 U.S. 478, 482 (1982); Honig v. Doe, 484 U.S. 305 (1988). Therefore, injunctive relief is

appropriate herein. Id.

        65.      Plaintiff will be irreparably harmed by release of its pricing and rebate

information, because such information is vigorously-protected trade secret information. Strict

confidentiality like that required by 42 U.S.C. § 1396r-8(b)(3)(D) and Texas Gov’t Code

§531.071 can never be restored once the information has been released. Plaintiff has made

significant investments to price and market its products and has taken substantial measures to

maintain the secrecy of its pricing and preferential Medicaid pricing and rebate information.

This information is provided to HHSC solely for the purpose of administering the Medicaid

rebate program pursuant to the Social Security Act. If an injunctive relief is not entered,



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Plaintiff risks the loss of its confidential information, resulting in loss of competitive advantage

for the foreseeable future. Only the prohibition of further releases can prevent further erosion of

confidentiality and risk of further spread of the information. Moreover, even if monetary

damages could compensate for the loss of Plaintiff’s confidential information, which it could

not, Defendant is an agency of the State of Texas releasing such information under color of law.

Therefore, due to sovereign immunity, no monetary remedy would be available to compensate

Plaintiff. See Enterprise Intern. Inc., 762 F.2d at 473; California Pharmacists Ass’n, 563 F.3d

at 851-52. Finally, the serial release of Plaintiff’s confidential information to members of the

Texas Legislature would require a multiplicity of actions to further protect such information and

ensure no further disclosure. The more legislators and staffers gain access to such information,

the more difficult it is to secure the information, identify the source of leaks, and sue the correct

source. See Janvey, 647 F.3d at 600 (noting that harm which requires a multiplicity of actions

to correct can constitute irreparable injury).

       66.    Courts in Texas, including federal courts, have repeatedly held that damage from

misappropriation of competitive information is difficult to calculate and constitutes irreparable

harm. See, e.g., Heil Trailer Int'l Co., 542 F. App'x at 335; FMC Corp. v. Varco Intern., Inc.,

677 F.2d 500, 504-05 (5th Cir. 1982); Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Stidham,

658 F.2d 1098, 1102 n. 8 (5th Cir. 1981); Daily Instruments Corp. v. Heidt, 998 F. Supp. 2d

553, 569-70 (S.D. Tex. 2014) (“[T]he disclosure of confidential information satisfies the

irreparable injury prong for purposes of a preliminary injunction.”); Propath Servs., L.L.P. v.

Ameripath, Inc., No. Civ.A.3:04-CV-1912-P, 2004 WL 2389214, at *7 (N.D. Tex. Oct. 21,

2004); American Express Fin. Advisors, Inc. v. Scott, 955 F. Supp. 688, 693 (N.D. Tex. 1996)

(“In a situation where trade secrets and goodwill are involved, the threat is significant that the



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harm experienced by the misappropriation or misuse of trade secrets will be irreparable . . . and

damages are impossible to calculate.”); Graham v. Mary Kay, Inc., 25 S.W.3d 749, 753 (Tex.

App.-Houston [14th Dist.] 2000, pet. denied).       Moreover, the Texas Supreme Court has

recognized that the public release of pricing information and internal financial data, especially

in a highly-competitive industry (such as the pharmaceutical industry), “would give advantage

to a competitor or bidder.” See Boeing v. Paxton, 466 S.W.3d 831, 839-41 (Tex. 2015)

(holding that, in light of the highly competitive aerospace industry, Boeing’s bidding and

pricing information constitute information that “if released would give advantage to a

competitor or bidder” and therefore, Boeing had standing to protect such information under the

Texas Public Information Act).

              3.     The Balance of Harm Favors Injunctive Relief

       67.    There is no harm to Defendants in preventing their improper release of the

information, nor will it in any way impair the administration of the Texas Medicaid program.

The balance of harms weighs in favor of injunctive relief.

              4.     Public Policy Favors Injunctive Relief

       68.    Injunctive relief preventing any further release of the Medicaid pricing and rebate

information supports sound public policy recognized by both the federal government and by the

Texas government. By enacting 42 U.S.C. § 1396r-8(b)(3)(D), Congress codified its public

policy judgment that maintenance of strict confidentiality over Medicaid pricing and rebate

information was vital to the continuation and success of the Medicaid program. By enacting

Texas Gov’t Code §531.071, the Texas legislature codified its public policy judgment that

maintenance of strict confidentiality over Medicaid pricing and rebate information was vital to

the continuation and success of the Medicaid program. Without such confidentiality, Medicaid



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would be unable to obtain such preferential discounts and rebates, which would dramatically

increase the costs of the Medicaid program to both the states and the federal government. A

temporary restraining order and preliminary injunction would benefit and not harm the public

interest, as public policy favors the protection of trade secrets. K&G Oil Tool & Serv. Co. v. G.

& G Fishing Tool Serv., 314 S.W.2d 782, 790 (Tex. 1958). There is no public policy that

would outweigh the financial integrity of the Medicaid program and the medical benefits it

provides to those in need.

       69.    Plaintiff thus requests, by separate application, a temporary restraining order and

preliminary injunction prohibiting Defendants from directly or indirectly releasing Medicaid

pricing information, including rebate and discount data, until further Order of this Court.

       70.    Plaintiff further request a temporary and permanent injunction to support the

declarations requested above providing that:

      a.      Defendants Texas Health and Human Services Commission and its Executive

              Director Charles Smith and any person in active concert or participation with

              them are enjoined from directly or indirectly releasing Medicaid pricing or rebate

              information, including rebate and discount data, including all such data belonging

              to Plaintiffs, until further Order of this Court and,

      b.      If any Defendant receives a request to release Medicaid pricing or rebate

              information then Defendants must not release same and, instead, must timely

              notify the Centers for Medicare and Medicaid Services and any person or entity

              who provided the requested information, so that those parties may seek judicial

              review and relief prior to any release.




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       71.    Plaintiff further requests that the Court enter the following terms in the relief

granted:

      a.      That the Medicaid pricing and rebate information released by Defendant HHSC is

              subject to 42 U.S.C. § 1396r-8(b)(3)(D) and that, therefore, Defendants shall work

              with Plaintiff to ensure that there is no further dissemination of that information,

      b.      That Defendants may only release Medicaid pricing and rebate information,

              including, but not limited to, the “best price” discount and rebate information, if

              the release is of unidentified information and/or meets one of the five specific

              exceptions listed in 42 U.S.C. § 1396r-8(b)(3)(D),

      c.      That Defendants shall recognize that requests pursuant to the Texas Public

              Information Act do not constitute a listed exception under 42 U.S.C. § 1396r-

              8(b)(3)(D), and thus cannot authorize a release of confidential Medicaid pricing

              information,

      d.      That Defendants shall recognize that requests by individual state legislators for

              general legislative or budgeting purposes do not qualify as a provision of the

              information “to States to carry out this subchapter” under 42 U.S.C. § 1396r-

              8(b)(3)(D)(iv), and thus cannot authorize a release of confidential Medicaid

              pricing information,

      e.      That Defendants shall recognize that Texas Gov’t Code §531.071 provides that

              Texas Gov’t Code §552.008 is not applicable to Medicaid pricing and rebate

              information, and

      f.      If any Defendant receives a request to release confidential Medicaid pricing

              information covered by 42 U.S.C. § 1396r-8(b)(3)(D) and/or Texas Gov’t Code



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               §531.071, then Defendants must not release same and, instead, must timely notify

               the Centers for Medicare and Medicaid Services and any person or entity who

               provided the requested information, so that those parties may seek judicial review

               and relief prior to any release.

        72.    Plaintiff only seeks prospective injunctive relief that does not implicate the

expenditure or encumbrance of state budgetary resources.

                                  VII.    Conditions Precedent

        73.    All conditions precedent for Plaintiff to recover in this action have been

performed or have occurred.

                                           VIII. Prayer

       WHEREFORE, Plaintiff prays that Defendants be cited to appear and answer herein, that

a temporary restraining order and preliminary injunctive relief issue, and that upon final hearing

this Court enter declaratory judgment and issue permanent injunctive relief as described above to

preserve the confidentiality required by 42 U.S.C. § 1396r-8(b)(3)(D) and Texas Gov’t Code

§531.071, and for such other and further relief to which Plaintiff may show itself justly entitled.


                                                   Respectfully submitted,

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